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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 20-80604-CIV-ALTMAN

  MORIAH AHARON, et al.,

         Plaintiffs,
  vs.

  CHINESE COMMUNIST PARTY, and
  PEOPLE’S REPUBLIC OF CHINA,

        Defendants.
  _________________________/

                                                ORDER

         On July 2, 2020, the Plaitniffs filed a Motion for Extension of Time to Effectuate Service

  [ECF No. 16], in which they say that, due to the ongoing COVID-19 pandemic, they have been

  unable to effectuate service on the Defendants, see id. ¶¶ 3, 7, 14, and may need to add additional

  parties to the Complaint, see id. ¶¶ 13, 15. Because of these developments, the Plaintiffs request a

  staggering ninety-day extension to the service deadline, see id. ¶ 24.

         This case is being brought under the Foreign Sovereign Immunities Act (the “FSIA”)

  against the Chinese Communist Party and the People’s Republic of China. See generally

  Complaint. As a “foreign state” and its “political subdivision,” see FED. R. CIV. P. 4(j)(i), the

  Plaintiffs are entitled to an extension of time within which to serve these Defendants, see FED. R.

  CIV. P. 4(m) (“This subdivision (m) does not apply to service in a foreign country

  under . . . 4(j)(1) . . . .”). However, the Plaintiffs themselves are uncertain that, even with this

  ninety-day extension, they will be able to serve the Defendants at all. See Mot. at 6 n. 4 (“Plaintiffs

  are requesting ninety days, however the service vendor has advised that the time frame may be

  longer because of China’s past conduct with service.”); id. at 4 n. 2 (“[O]nly the Miami case has
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  been able to get this far in the service process.”).

          As such, while this Court will grant the Plaintiffs’ Motion, this case will be removed from

  the active docket and the Plaintiff will be required to provide status reports every thirty (30) days

  regarding the status of their service efforts, as is this Court’s practice when granting extensions of

  time within which to effectuate service in FSIA cases. See, e.g., Sovereign Bonds Exchange LLC

  v. Federal Republic of Germany, No. 10-CIV-21896-ALTONAGA, ECF No. 23 (S.D. Fla. Jan.

  11, 2011). If, after ninety days have passed, the Plaintiffs have been unable to serve the foreign

  Defendants, those Defendants will be dismissed from this action.

          The Plaintiffs also say they wish to file an amended complaint. See Mot. ¶ 13. That request

  is granted. However, pursuant to this Court’s practices, defendants in multiple-defendant cases

  must file their motions and responses jointly. Accordingly, those Defendants, if served before the

  foreign defendants, need not respond to the Amended Complaint unless and until the foreign

  Defendants have been served.

          Accordingly, the Court hereby

          ORDERS AND ADJUDGES that the Motion for Extension of Time [ECF No. 16] is

  GRANTED as follows:

          1.   The Plaintiff shall perfect service on the Defendants and file proof of service with the

               Court no later than October 5, 2020. Failure to serve the Defendants by that date will

               result in dismissal without further notice.

          2. The Plaintiff may file an amended complaint.

          3. The Clerk of Court is directed to CLOSE this case.

          4. The Plaintiffs shall file a status report, every thirty (30) days, beginning on August 3,

               2020, regarding the status of their service efforts.


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        DONE AND ORDERED in Fort Lauderdale, Florida this 6th day of July 2020.



                                                  _________________________________
                                                  ROY K. ALTMAN
                                                  UNITED STATES DISTRICT JUDGE
  cc:   counsel of record




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